
Upon consideration of the petition filed on the 28th of September 2018 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and *710is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th of May 2019."
Upon consideration of the petition filed by Defendant on the 28th of September 2018 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 9th of May 2019."
